          Case 5:21-cv-00844-XR Document 743 Filed 09/01/23 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,

                   Plaintiffs,

     v.                                                     Civil Action
                                                            No. 5:21-cv-844-XR
GREGORY W. ABBOTT, et al.,

                   Defendants.

               DEFENDANT MICHAEL SCARPELLO’S
              NOTICE REGARDING MOTION IN LIMINE

     Defendant Michael Scarpello, Elections Administrator of Dallas

County, Texas, pursuant to the text Order entered on August 23, 2023,

hereby submits that Defendant Scarpello will not file a motion in limine.

Nothing in this notice is to be construed as an admission of any allegation

against Defendant Scarpello in this action and Defendant Scarpello

reserves all applicable defenses.


Dated: September 1, 2023             Respectfully submitted,

                                     JOHN CREUZOT
                                     CRIMINAL DISTRICT ATTORNEY
                                     DALLAS COUNTY, TEXAS
       Case 5:21-cv-00844-XR Document 743 Filed 09/01/23 Page 2 of 2




                                  /s/ Ben L. Stool
                                  Assistant Criminal District Attorney
                                  Texas Bar No. 19312500
                                  ben.stool@dallascounty.org
                                  Barbara S. Nicholas
                                  Assistant Criminal District Attorney
                                  Texas Bar No. 24032785
                                  barbara.nicholas@dallascounty.org
                                  Civil Division
                                  Dallas County Records Building
                                  500 Elm Street, Suite 6300
                                  Dallas, Texas 75202
                                  Phone: (214) 653-7358
                                  Fax: (214) 653-6134
                                  Attorneys for Defendant Michael
                                  Scarpello, in his official capacity
                                  as the Elections Administrator of
                                  Dallas County, Texas

                          Certificate of Service

     I certify that on September 1, 2023, Defendant Michael Scarpello’s
Notice Regarding Motion in Limine was served through PACER on
counsel and staff designated to receive notice.

                                  /s/ Ben L. Stool
                                  Assistant District Attorney
